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                                      EXHIBIT A

    (Detailed Description, by Project Category, of Services Rendered During Fee Period)




160877998v2
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                                                                                Murphy King, Professional Corporation
                                                                       Detailed Statement of Fees Incurred, by Project Category
                                                                                 For the Period from 7/1/23 - 7/31/23

                                                                       Billed
                      Date     Employee       Hours       Task Code    Amount            Narrative

Case Administration
                       7/5/2023 LAO                   0.70 B110        $   227.50 Emails to CTS re: open items; listening to voicemails re: CTS
                       7/6/2023 LAO                   1.60 B110        $   520.00 Open items; drafting notice of termination of gift card program; conversation with CMC re: same
                      7/17/2023 LAO                   0.40 B110        $   130.00 Call with HBM/CMC; meeting with CMC re: open items/assignments
                      7/26/2023 HBM                   0.70 B110        $   514.50 Telephone call with co-counsel and client re: open issues, etc.; conference with C. Condon re: same
                      7/28/2023 HBM                   0.40 B110        $   294.00 Emails re: wind down issues; conference with C. Condon re: same
Total:                                                3.80             $ 1,686.00

Asset Disposition
                       7/5/2023 HBM                   0.40 B130        $   294.00 Telephone call with client/sale prospects
                       7/5/2023 LAO                   0.20 B130        $    65.00 Discussion with CMC re: bid procedures
                       7/7/2023 LAO                   0.60 B130        $   195.00 Call with team and SSG re: term sheet, status
                      7/10/2023 CMC                   1.10 B130        $   643.50 Calls with client and SSG regarding potential sale
                                                                                  Telephone call with M. Kaufman re: case issues; telephone call with J. Kaufman and Salkovitz re:
                      7/18/2023 HBM                   0.60 B130        $   441.00 potential of IP and leases
                      7/19/2023 HBM                   0.80 B130        $   588.00 Telephone call with client and SSG re: potential sale; emails re: same
Total:                                                3.70             $ 2,226.50

Relief from Stay/Adequate Protection Proceedings
                     Date       Employee       Hours      Task Code    Amount      Description
                      7/3/2023 LAO                   0.20 B140         $     65.00 Call with Counsel to Soundwater Dartmouth
                      7/3/2023 LAO                   0.80 B140         $    260.00 Call with CMC; email to counsel for soundwater Dartmouth; edits to proposed order; call with HBM
                      7/3/2023 LAO                   1.20 B110         $    390.00 Drafting response to stay motion; research re: same
                      7/5/2023 LAO                   0.40 B140         $    130.00 Revised order stay motion; discussion with CMC
                      7/5/2023 CMC                   0.80 B140         $    468.00 Work on issues re motions for relief and motions to compel
                     7/10/2023 HBM                   0.50 B140         $    367.50 Review motion for relief from stay; conference with C. Condon re: same; email re: same
                     7/10/2023 CMC                   0.60 B140         $    351.00 Review Huntington motion; conference re liquidation issue
                     7/11/2023 CMC                   0.80 B140         $    468.00 Work on Soundwater deal
Total:                                               5.30               $ 2,499.50

Fee/Employment Applications
                  Date       Employee         Hours        Task Code   Amount      Description
                   7/18/2023 CMC                      1.50 B160        $    877.50 Draft/revise fee application
                   7/20/2023 HBM                      0.80 B160        $    588.00 Review and revise draft fee application; conference with C. Condon re: same
                   7/25/2023 CMC                      1.50 B100        $    877.50 Finalize fee application
                   7/25/2023 CMC                      1.50 B160        $    877.50 Finalize exhibits for fee application
Total:                                                5.30              $ 3,220.50
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                                                                                Murphy King, Professional Corporation
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                                                                       Billed
                    Date       Employee        Hours       Task Code   Amount            Narrative

Assumption/Rejection of Leases and Contracts
                    7/10/2023 CMC                      0.80 B185       $      468.00 Revise order re lease motion
                    7/11/2023 CMC                      0.70 B185       $      409.50 Finalize order re lease motion
                    7/14/2023 CMC                      0.40 B185       $      234.00 Work on lease issues re BBBy
                    7/17/2023 LAO                      0.50 B185       $      162.50 Rejected leases, compare new list to BBBY subleases; call with K&E re: lease status
                    7/17/2023 HBM                      0.50 B110       $      367.50 Email from client re: potential sale of IP/Lease Rights; telephone call with client re: same
                    7/17/2023 HBM                      0.30 B185       $      220.50 Telephone call with Kirkland & Ellis re: status of subleases, case, etc.
                    7/17/2023 CMC                      0.80 B185       $      468.00 Review Committee stip re challenge period; emails re same
                                                                                     Telephone call with John K.; telephone call with M. Kaufman; telephone call with K&E re: leases,
                     7/27/2023 HBM                     1.30 B185       $      955.50 BBBY; conference with C. Condon re: same
                     7/28/2023 CMC                     1.10 B185       $      643.50 Work on BBBy lease issues; emails to client re same; draft memo re status
                     7/31/2023 CMC                     0.60 B185       $      351.00 Address landlord issues re lease rejections
Total:                                                 7.00            $    4,280.00

Other Contested Matters (excluding B185)
                     7/3/2023 LAO                      0.60 B190       $      195.00 Call with CMC re: pending motions/objections; follow up email re: same
                     7/5/2023 LAO                      0.40 B190       $      130.00 Discussion with CMC re: utility stipulation, open tasks
                     7/5/2023 CMC                      0.70 B190       $      409.50 Work on proposed order re pending motion to compel

                      7/6/2023 HBM                     1.40 B190       $ 1,029.00 Deal with Settlement of utilities objection; review draft; emails re: same to client/DIP lenders
                                                                                  Emails regarding proposed orders; reviewing utility settlements; agreements for orders;
                      7/6/2023 LAO                     1.30 B190       $   422.50 miscellaneous open items
                      7/6/2023 LAO                     1.10 B190       $   357.50 Communications re insurance; call with V. Moody
                      7/6/2023 LAO                     0.30 B190       $    97.50 Responding to email re open potential settlements
                      7/6/2023 CMC                     1.20 B190       $   702.00 Review utility agreement; confer with H. Murphy re same
                      7/6/2023 CMC                     0.40 B190       $   234.00 Negotiations re Prestige claims
                      7/6/2023 CMC                     0.50 B190       $   292.50 Multiple emails re utility deal
                      7/6/2023 CMC                     0.60 B190       $   351.00 Review Prestige claim order
                      7/6/2023 CMC                     0.40 B190       $   234.00 Review utility order; revise
                      7/7/2023 CMC                     0.70 B190       $   409.50 Work finalizing utility agreement
                     7/10/2023 HBM                     0.50 B190       $   367.50 Review Motion to Convert; email re: same; conference with C. Condon re: same
                     7/10/2023 CMC                     0.70 B190       $   409.50 Review motion to convert filed by Committee; conferences re same
                     7/10/2023 CMC                     0.30 B190       $   175.50 Revise order re Prestige motion
                     7/10/2023 CMC                     0.50 B190       $   292.50 Finalize utility order
                     7/11/2023 CMC                     0.30 B190       $   175.50 Review lenders' objection re: conversion
                     7/17/2023 LAO                     1.20 B110       $   390.00 Drafting objection to application for admin expense
                     7/18/2023 LAO                     0.60 B190       $   195.00 Objection to application for admin expense; discussion with CMC; email to G&T re: same
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                                                                  Billed
                     Date      Employee   Hours       Task Code   Amount            Narrative
                     7/20/2023 CMC                0.40 B190       $      234.00 Email re WARN Act and related issues
                     7/26/2023 CMC                0.90 B190       $      526.50 Call re WARN Act claims; review documents re: same
                                                                                Prepare for and participate in call with landlord and liquidator counsel re Distribution Center issues,
                     7/26/2023 CMC             1.30 B190          $      760.50 asserted stay violation; emails re same
                     7/28/2023 LAO             0.30 B190          $       97.50 Editing objection to motion; email to Troutman re: same; call with CMC
                     7/31/2023 LAO             0.60 B190          $      195.00 Call with Evelyn; discussion with CMC; reviewing proposed order
Total:                                        17.20               $    8,683.00

Non-working Travel
                      7/6/2023 HBM             1.80 B110          $   661.50 Travel to Delaware (3.5)
                      7/6/2023 CMC             1.80 B195          $   526.50 Travel to Delaware for hearing
                      7/7/2023 HBM             2.00 B110          $   735.00 Travel to Boston (Delaware)
                      7/7/2023 CMC             2.00 B195          $   585.00 Travel back to Boston
                     7/12/2023 HBM             2.00 B110          $   735.00 Travel and prepare for hearings
                     7/12/2023 CMC             2.00 B230          $   585.00 Travel to Delaware; prepare for hearing
                     7/13/2023 HBM             1.90 B110          $   698.25 Travel back to Boston
                     7/13/2023 CMC             1.90 B195          $   555.75 Travel back to Boston
Total:                                        15.40               $ 5,082.00

Financing/Cash Collections

                                                                                Emails re: Thursday hearing; telephone call with creditors committee re: same (utility motion,
                       7/5/2023 HBM               1.30 B230       $      955.50 landlord motion, DIP motion); telephone call with M. Kaufman re: same; email re: DIP orders
                       7/5/2023 HBM               1.20 B230       $      882.00 Telephone call with client/FAAM re: issues/questions re: GOB budget
                                                                                Emails re: potential settlement with objection Landlords; email to client; telephone call with G.
                       7/5/2023 HBM               0.50 B230       $      367.50 Galardi
                                                                                Multiple emails re: budget; telephone call with client re: same; conference with C. Condon re: issues
                       7/5/2023 HBM               1.60 B230       $    1,176.00 re: same
                       7/5/2023 LAO               1.00 B230       $      325.00 Review budget, call with FAAN
                       7/5/2023 LAO               0.20 B230       $       65.00 Reviewing filings; GOB Budget
                       7/5/2023 LAO               1.20 B230       $      390.00 Organizing documents for hearing; reviewing budget & funded amount
                       7/5/2023 CMC               0.60 B230       $      351.00 Work on deal with landlords re objection to DIP
                       7/5/2023 CMC               0.70 B230       $      409.50 Draft witness and exhibit list
                       7/5/2023 CMC               1.10 B230       $      643.50 Calls with lender re DIP issues
                       7/5/2023 CMC               0.80 B230       $      468.00 Review DIP budget with FAAN; confer with H. Murphy
                       7/6/2023 HBM               1.00 B230       $      735.00 Review Budget, Schedules; emails re: same
                                                                                Review Budget for DIP lender; review revised draft DIP Order; conference with client re: same; email
                       7/6/2023 HBM               4.00 B230       $    2,940.00 to DIP re: issues; work on issues for tomorrow's hearing
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                                                     Billed
         Date     Employee   Hours       Task Code   Amount            Narrative
          7/6/2023 CMC               0.90 B230       $      526.50 Calls re: DIP issues
          7/6/2023 CMC               0.30 B230       $      175.50 Emails re DIP issues
          7/6/2023 CMC               1.10 B230       $      643.50 Meet with lenders counsel and client re issues
                                                                   Prepare for and attend hearing on multiple motions; conference with client, co-counsel; UCC DIP
          7/7/2023 HBM               4.10 B110       $    3,013.50 and landlord counsel
          7/7/2023 CMC               1.20 B230       $      702.00 Multiple meetings with client re DIP order and budget issues
          7/7/2023 CMC               1.50 B230       $      877.50 Meetings with lenders re revised DIP
          7/7/2023 CMC               1.90 B230       $    1,111.50 Prepare for and attend hearing re DIP order
          7/7/2023 CMC               1.00 B230       $      585.00 Meeting with lenders and client re budget

         7/10/2023 HBM               0.40 B230       $      294.00 Telephone call from M. Fencer re: GOB/Employee issues; conference with C. Condon re: same
         7/10/2023 HBM               0.30 B230       $      220.50 Emails re: GOB/case status

         7/10/2023 HBM               0.70 B230       $      514.50 Emails re: budget, utilities, etc.; request shorten notice; telephone call with client re: same
         7/10/2023 CMC               1.50 B230       $      877.50 Work on issues re DIP budget
         7/10/2023 CMC               0.90 B230       $      526.50 Further work on settlements re objections to DIP
         7/11/2023 HBM               0.30 B230       $      220.50 Telephone call with M. Kaufman re: budget and issues re: GOB
                                                                   Review latest budget for Bank; emails re: same; telephone call with G. Galardi; conference with C.
         7/11/2023 HBM               2.50 B230       $    1,837.50 Condon re: same
         7/11/2023 CMC               0.90 B230       $      526.50 Work on DIP deal; multiple conferences re same
         7/11/2023 CMC               1.10 B230       $      643.50 Prepare for hearing; calls re: deal
         7/12/2023 HBM               2.50 B230       $    1,837.50 Prepare for hearing; meet with client; meet with lenders re: budget order
         7/12/2023 HBM               2.60 B230       $    1,911.00 Attend hearing; meet with client and parties after hearing
         7/12/2023 HBM               2.30 B230       $    1,690.50 Work on resolving budget issues with client and lenders
         7/12/2023 CMC               2.50 B230       $    1,462.50 Prepare for hearing; meet with clients and other parties after hearing
         7/12/2023 CMC               2.30 B230       $    1,345.50 Work on resolving budget issues with client and lenders
         7/12/2023 CMC               2.60 B230       $    1,521.00 Prepare for hearing; met with client; meet with lenders re budget and order

         7/13/2023 HBM               3.00 B230       $ 2,205.00 Work on resolving budget issues re: deficit; multiple conferences with Lenders, client and Troutman
         7/13/2023 HBM               2.40 B230       $ 1,764.00 Finalize issues re: budget and order and prepare for hearing
         7/13/2023 HBM               1.80 B230       $ 1,323.00 Attend hearing re: Supplement Final DIP; meeting with Troutman re: next steps
                                                                 Work on resolving budget issues re deficit; multiple conferences with lenders, client and Delaware
         7/13/2023 CMC            3.00 B230          $ 1,755.00 counsel
         7/13/2023 CMC            2.40 B230          $ 1,404.00 Finalize issues re budget/order and prepare for hearing
         7/13/2023 CMC            1.80 B230          $ 1,053.00 Attend hearing re supplemental final DIP order; meeting with Troutman re next steps
Total:                           65.00               $ 42,276.00
